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                                               April 10, 2023

Via ECF

Hon. Paul G. Gardephe, United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007-1312

               Re:     USA v. Stuart Finkelstein
                       Docket No. 21-Cr-217 (PGG)

Dear Judge Gardephe:

       I represent Mr. Finkelstein in the above matter. Sentencing is set for April 26, 2023 at 2
PM. I am respectfully requesting an adjournment of sentencing. As noted in previous requests,
Mr. Finkelstein has a number of serious medical issues and is currently receiving treatment for
them. He is still awaiting medical clearance for back surgery to repair herniated discs in his lumbar
and thoracic spine: because his blood sugar is still not under control, despite several medication
changes, his neurologist has not yet cleared him for surgery. Mr. Finkelstein also suffers from
hypertension, which is being treated with Losartan (the Losartan also helps prevent complications
from his diabetes medication).

        He has appointments scheduled for April 21, 2023 for follow-up consultations regarding
surgeries for his left shoulder and left knee. Those injuries, and the spinal injuries, resulted from
his recent car accident. In addition to the surgical issues caused by the car accident, Mr. Finkelstein
also suffered broken teeth; he is still working with his oral surgeon on those repairs as well.
